                        Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 1 of 9
AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet I



                                            UNITED STATES DISTRICT COURT
                                                      Western District of Pennsylvania
                                                                          )
              UNITED ST A TES OF AMERICA                                  )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                     )
                                                                          )
                        SIMON T. TUSHA                                            Case Number: 16-CR-55
                                                                          )
                                                                          )       USM Number: 04182015
                                                                          )
                                                                          )        Stanley W. Greenfield
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          1
                                    --------------------------------------
• pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count

 18 USC sec 371                     Conspiracy to Defraud the United States                                  8/31/2014                    1




       The defendant is sentenced as provided in pages 2 through          __9
                                                                            ___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                               Dis      D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any: change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          1/10/2019
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                          Donetta W. Ambrose, U.S. Senior District Judge
                                                                         Name and Title of Judge


                                                                          1/10/2019
                                                                         Date
                      Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 2 of 9
AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                    Judgment -          2_ of
                                                                                                                 Page _ _       9
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  21 months.




    Ill'   The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends that Defendant be incarcerated as close to home as possible.




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                   D a.m.      D p.m.       on

           D as notified by the United States Marshal.

     ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D before 2 p.m. on
           [YI' as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - ~ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL
                       Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 3 of 9
AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 2A - Imprisonment
                                                                                      Judgment-Page   _3_   of -~9~~
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55

                                            ADDITIONAL IMPRISONMENT TERMS
 Defendant's sentence shall not commence prior to 4/1/19. If Defendant has not been contacted by the U.S. Marshals by
 4/1/19 with information about where and when to self-report, Defendant shall contact the U.S. Marshals.
                         Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 4 of 9
AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                             Judgment-Page   ______4____ of   9
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 3 years.




                                                    MANDATORY CONDITIONS

J.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            !ill The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.     l!1'   You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
              restitution. (check if applicable)
5.     l!1'   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.             § 16901, et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence.        (check   if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                      Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 5 of 9
AO 2458 (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A - Supervised Release
                                                                                                Judgment-Page         5                __~
                                                                                                                               of _ _ _9
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers ).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date - - - - - - - - - - - - -
                     Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 6 of 9

AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3B - Supervised Release
                                                                                          Judgment-Page   _6_    of      9
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55

                                    ADDITIONAL SUPERVISED RELEASE TERMS
1. The defendant shall not illegally possess a controlled substance.
2. The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
3. The defendant shall pay restitution that is imposed by this judgment that remains unpaid at the commencement of the
term of supervised release at a rate of not less than 1O percent of his gross monthly earnings. The first payment shall be
due within 30 days from the defendant's release from the custody of the Bureau of Prisons.
4. The defendant shall report any change of address within 30 days to the United States Attorney's Office while any portion
of the restitution remains outstanding.
5. The defendant is prohibited from incurring new credit charges or opening additional lines of credit without prior written
approval of the probation officer.
6. The defendant shall timely file local, state and federal income tax returns, and cooperate with the Internal Revenue
Service in the collection of any past due taxes including penalties and interest.
7. The defendant shall provide the probation officer with access to any requested financial information.
8. The defendant shall participate in a mental health assessment and/or treatment program approved by the probation
officer, until such time as the defendant is released from the program by the Court. The defendant shall be required to
contribute to the costs of services in an amount determined by the Probation Office. These costs shall not exceed the
actual cost of the service. The Probation Office is authorized to release the defendant's presentence report to the treatment
provider if so requested.
9. The defendant shall submit his person, property, house, residence, vehicle, papers, business or place of employment, to
a search, conducted by a United States Probation or Pretrial Services Officer at a reasonable time and in a reasonable
manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to
submit to a search may be grounds for revocation. The defendant shall inform any other residents that the premises may
be subject to searches pursuant to this condition.
10. The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to 28 C.F.R. §
28.12, the DNA Fingerprint Act of 2005, and the Adam Walsh Child Protection and Safety Act of 2006.
                           Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 7 of 9
AO 245B (Rev. 09/ I 7)    Judgment in a Criminal Case
                          Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment -    Page      7      of        9
 DEFENDANT: SIMON T. TUSHA
 CASE NUMBER: 16-CR-55
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                   JVT A Assessment*               Fine                          Restitution
 TOTALS                  $ 100.00                   $                               $ 0.00                      $ 962,100.00



 D    The determination of restitution is deferred until
                                                         ----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ~    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                           Total Loss**            Restitution Ordered                Priority or Percentage
  Internal Revenue Service                                                     $962,100.00                 $962,100.00           100

  Attn: Clerk of Courts

  U.S. Courthouse

   700 Grant Street (Suite 3110)

  Pittsburgh, PA 15219




 TOTALS                                  $                  962,100.00            $ _____9_62_,_1         o_o_.o_o_

 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 l 2(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 I 2(g).

  ~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        ~     the interest requirement is waived for the            D fine    ~ restitution.

        D the interest requirement for the              D    fine    D    restitution is modified as follows:

  * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  ** Findings for the total amount oflosses are required under Chapters           I 09A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
  after September 13, 1994, but before April 23, 1996.
                      Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 8 of 9
AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 5A - Criminal Monetary Penalties
                                                                                              Judgment-Page ___8__ of          9
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
The Clerk of Courts shall forward the payments to the victim at IRS-RACS, Attention: Mail Stop 6261, Restitution, 333 W.
Pershing Avenue, Kansas City, MO 64108.

The defendant shall make restitution payments from any wages he/she may earn in prison in accordance with the Bureau
of Prisons' Inmate Financial Responsibility Program. Any portion of the restitution that is not paid in full at the time of the
defendant's release from imprisonment shall be paid as a condition of supervised release. The victim's recovery is limited
to the amount of its loss, and the defendant's liability for restitution ceases if and when the victim receives full restitution.
The defendant shall apply all moneys received from income tax refunds, lottery winnings, inheritance, judgments and any
anticipated or unexpected financial gains to the outstanding court ordered financial obligation within 10 days of receipt,
unless excused from doing so by Order of the Court.
                       Case 2:16-cr-00055-DWA Document 69 Filed 01/10/19 Page 9 of 9
AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page    9     of        9
DEFENDANT: SIMON T. TUSHA
CASE NUMBER: 16-CR-55

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    •       Lump sum payment of$                            due immediately, balance due


             •    not later than                                 , or
             •    in accordance with
                                       •    C,
                                                  •    D,
                                                             •    E, or
                                                                              •    F below; or

B    •       Payment to begin immediately (may be combined with           •   c,        D D,or    D F below); or

C     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                           (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                           (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D Payment during the term of supervised release will commence within        _ _ _ _ _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     !ill   Special instructions regarding the payment of criminal monetary penalties:

             See pagef,




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NT A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
